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 4
     Attorney for Defendant
 5   FELICIA EDWARDS
 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,        )                   CASE NO. 2:10-cr-0211 KJN
10                                    )
                      Plaintiff,      )
11                                    )                   STIPULATION AND
           v.                         )                   ORDER TO SCHEDULE SENTENCE
12                                    )                   FOR JULY 27, 2011
                                      )
13   FELICIA EDWARDS,                 )
                                      )
14                    Defendant.      )
     ________________________________ )
15
16          The parties request that the sentencing in this case be scheduled for July 27, 2011 at 2:00
17   p.m. in Courtroom 8 before the Honorable Kendall J. Newman, U.S. Magistrate Judge. The
18   parties have confirmed the availability of this date with the Court’s clerk.
19
20                                                        Respectfully submitted,
21   Dated: May 26, 2011                                     /s/ Hayes H. Gable, III
                                                          HAYES H. GABLE, III
22                                                        Attorney for Felicia Edwards
23
     Dated: May 26, 2011                                   /s/ Jared C. Dolan
24                                                        JARED C. DOLAN
                                                          Assistant U.S. Attorney
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 1                                          ORDER
 2         IT IS HEREBY ORDERED that sentencing in this case be scheduled for July 27,
 3   2011, at 9:00 a.m., in Courtroom 25.
 4
     Dated: May 31, 2011
 5
 6
 7
 8                                          _____________________________________
                                            KENDALL J. NEWMAN
 9                                          UNITED STATES MAGISTRATE JUDGE
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